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                              UNITED STATES DISTRICT COURT
                                                                                                         THOMAS G. BRUTON
                              NORTHERN DISTRICT OF ILLINOIS                                          CLERK, U.S, DISTRICT COURT

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                               UNITED STATES                  RT
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                     Plaintiff(s),                             )
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                             vs.                     t""*{'*i)           Case No.
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                     Defendant(s).                             )




                  COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This   form complaint is designed to help you, as o pro            se   plaintffi      stute    your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You muy cross out paragraphs that do not apply to you. All references
to "plaintiff'and "defendant" are stated in the singular but will apply to more than one
plaintilf or defendant if that is the nature of the case.

L         This is a claim for violation of plaintiff s civil rights as protected by the Constitution and

          laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

2.        The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367                       .



a
J.        Plaintiff s full name is


Ifthere are additional plaintffi, jill in the above information as to thefirst-named                        plaintiff
and complete the informationfor each additional plaintiff on un extra sheet
     Case: 1:17-cv-01165 Document #: 1 Filed: 02/13/17 Page 3 of 12 PageID #:3



4.     Defendant,
                                                  (name, badge number i


       $    an officer or   official employed     by             ) k t.        1          t   /[. ^ u .i                    ;
                                                                    ldepartmefit or agency ofl government)
                                                                                                                           or

       n    an individual not employed by a governmental entity.

Ifthere are additionol defendants, ftll in the above information as to the lirst-named
defendant and complete the informotion for each additional defendant on an extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       actedis              iur)tct'J         C.- tr.c,l,                                          Astoplaintift'sfederal
                                                     II
       constitutional claims, the municipality, township or county is a defendant only                          if
       custom or policy allegations are made atparagraph 7 below.
                               t2- 7- t7,
6.
                              (month,day, year)
       plaintiff was present in the municipality (or unincorporated area) of C t                           ,.. fra a.^n-
                   2-{o3               , ^ tf 3-       ,intheCountyof (pr[<.
       State of   Illinois,   at        ( L, ,- " o , k
                                       (identify loca/ion   as   precisely as possible)


       when defendant violated plaintiff s civil rights as follows (Place X in euch box that
       applies):

       tr        arrested or seized plaintiff without probable cause to believe that plaintiff had
                 committed, was comrnitting or was about to commit a crime;
       tr        searched plaintiff or his property without a warrant and without reasonable cause;
       n         used excessive force upon plaintiff;
      F          failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                 one or more other defendants;
       E         failed to provide plaintiff with needed medical care;
       F         conspired together to violate one or more of plaintiff s civil rights;
       N         Other:                                                                        \
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      Case: 1:17-cv-01165 Document #: 1 Filed: 02/13/17 Page 4 of 12 PageID #:4




7.      Defendant officer or official acted pursuant to a custom or policy of defendant

        municipality, county or township, which custom or policy is the following: (Leave blank

        if no custom      or policy is alleged):




8.      Plaintiff was charged with one or more crimes, specifically:

                     P(a^t?                 ^^.us .J^(t4                  ac.-s.-Q .-*Q ".r-t/.c./

                       LrnlC                    L   L.-.J       q/€.-.      C!,So^.,J.$.-




9.      (Place an X in the box that upplies. If none applies, you may describe the criminal
        proceedings under "Other') The criminal proceedings

        tr    are   still pending.

        V     were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.r

        n     Plaintiff was found guilty of one or more charges because defendant deprived me of        a


        fair trial as follows



        p Other:                               le   - C,rc'.4"-                                             f*
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                        'terminationr"lr;:r?r#luintit?u*[if.r",i,catingptaintiff          wasinnocent
may include   ajudgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SoL) by the prosecutor, or a nolle prosequi order.
      Case: 1:17-cv-01165 Document #: 1 Filed: 02/13/17 Page 5 of 12 PageID #:5



       10.     Plaintiff further alleges as follows: (Describe what happened that yoa believe
        supports your claims. To the extent possible, be spectjic as to your own actions and
       the actions of euch defendant.)

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       Defendant        knowingly,      --'"'-"-"'."^
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12.    As a result of defendant's conduct, plaintiff was injured as follows:

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              o                                                       t J'"'
13. Plaintiff asks that the case be tried by a jury. flV., n No
                                                                  ***
                                                                "
       Case: 1:17-cv-01165 Document #: 1 Filed: 02/13/17 Page 6 of 12 PageID #:6



 14.    Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

        as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

        and/or any other claim that may be supported by the allegations of this complaint.




        WHEREFORE, plaintiff               asks for the   following relief:

        A.      Damages to compensate for all bodily harm, emotional harm, pain and suffering,

                loss of income, loss of enjoyment of life, property damage and any other injuries

                inflicted by defendant;

        B.      4 enr"        X in box tf you are seeking punitive damuges.) Punitive   damages

                against the individual defendant; and

        C.      Such injunctive, declaratory, or other relief as may be appropriate, including

 attorney's fees and reasonable expenses as authorized by 42 U.S.C. $ 1988.

        Plaintifls signature:

        Plaintiffsname(printclearlyorrypQ: L-a u o- t   6 r"{. <
                                                   /
        Plaintiffsmailingaddress: &. 7    l.*-0. ^G--o---,./ pa.
        city         S, u".   fL      l,t   --./                State / rar r>     Zlp ? e 6 7 >
        Plaintifls telephone number:          e79 3            &   6 - S 7 <g S-
        Plaintiff   s email address   (if you prefer to be contacted by email):



15.    Plaintiff has previously filed a case in this district. SVes tr No

       Ifyes, please listthe      below. *^9
                                   cases                ><rJr" ( *-a< o& c v t S^ ( f "*^p
  P fe v tt z o           .,- <.*) r- ele--1,e. "*^l*J C.-^^l- .^ - *L=-O A ; - .*0 C*!^-O
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Any additional plaintffi must sign the complaint and provide the same information as the firs1          f-( e'z1   ,
plaintffi An additional signature page may be added.
            Case: 1:17-cv-01165 Document #: 1 Filed: 02/13/17 Page 7 of 12 PageID #:7

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Foreclosure Info page
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                They are backed in a corner and must either rip us off or go broke.               RETURNS   gPT
                The attached documents just scratch the surface of what we need to
                                                                                              ,      .   Robb Ryder I More info
                                                       RICO and HOBBS on the judges.-



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TO UNITED ASTATES DISTRICT COURT OF NORTHERN EASTERN ILLINOIS




Larry     Oruta                                  )            US District court

Plaintiff                                        )            case#

     VS                                          )    Hon


ContinentalAir TransPort        lnc.         )        Judge Presiding

B.E.W                                        )       2-7-L7

Hartford      ]ns. C\O Sedgwick    CMS       )


Central     Plaza   Home   &   HotelCorP.)

BIOMAT USA                                   )


Defendants                               )




NOTICE       OF REMOVAL FROM STATE OF ILLLINOIS TO                                 UNITED STATES DISTRICT COURT

pURSUANT TITLE        28 USC (1441)(aXbXc) AND 1443(2)US CONSTITUTIONAL RIGHTS                         VIOLATION


PURSUANT TTTLE 28USC(1331) ART.                      11l.AND           PALTNTIFF HAVING   DENIED EQUAL PROTECTION

GRANTED IN THE       14th AMENDMENT UNDER DUE PROCESS OF LAW. FROM CASE# 1014355

PENDING AT ILL. APPELLATE COURT FOR                           5   YEARS WITHOUT RELIEF.




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TO UNITED STATES DISTRICT COURT. OF NORTHERN     EASTERN ILLINOIS




                     TABLE OFCONTENTS:



I     lntroduction




ll    federalConstitutional jurisdiction



lll   Points   and   authorities




lV        Statements of facts




V        Arguments




Vl      Conclusion
          Case: 1:17-cv-01165 Document #: 1 Filed: 02/13/17 Page 11 of 12 PageID #:11




TO THE UNITED STATES                       DISTRICTCOURT OFNORTHERN EASTERN ILLINOIS




I     lntroduction:

      Now comes plaintiff Larry Oruta asserting violation of constitutional rights and civil

      Rights granted under           the 14th amendment           of due process and equalprotection, which

      Constitutes state violated constitution under the color of state law by intentional                      o   1,r o r.^w[
                                                                                                                                 i c* r,rce



ll    Constitutional jurisdiction          :



          Title 28 USC (1331Xa) grants the US district court originaljurisdiction under art.lll

       To     adjudicate such denied state action where court misconduct                  has occurs   under state

      Color of    law   by state    official obstructs statutory rights due to judicial racial         bias.




lll    Points     and       authorities:

       Plaintiff was granted final judgment                by   the state court on 7-23-L2 but the state trial court

      Stayed     judgment on grounds           of   fraudulent allegations by court officials in order to criminalize

      A   civil case   in   which relief was already granted by post trial court.

      L   Government of employers ins.Conc. VS Summon C n-S(MO) L980 9L7F.2d 7L44 allowed

           Allowed      removal.

                                           ower,-direetlywithheld--eonditio+s--trnfetter-e4-.-+lghts{+exere#
          A   stature of removal.

      3   Fresquez VS Fansworth Schumber CA 38,F.2d 70 (1956) allowed removal.
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lV   statement        of    facts:

 1         Plaintiff   was      granted finaljudgment           by the   post-trial state court on L-23-L2.

     2 State      court intentionally stayed            a   final judgment on false allegations of different

           Court case under ILWC previously litigated for                     a   settlement on      case 08CV1518


          Whereby      the state court accused plaintiff of fraud                  charges   which later dismissed.

      But the        state court continuous        to   deny relief on grounds of state color of law.

 3The state court now alleges no final judgment and has threated me with contempt

     Of    court    several     times in order to deny          any relief.

     V          Arguments:

          Plaintiff asserts judicial           bias based on     race    by state   officials who have compromised by

          Defense counsel         which occurred on 72-4-L2 when a state official influenced ex-judge

      Hon W. Maddux who was later removed from the bench on                              13-130-13.    Thus plaintiff

      ls being blamed for            the disqualifications, yet   he allowed      the post-ffial   proceedings for collection.

      Therefore, under title 28USC (L44L(aXb(c) and                       title   28 USC ( 1331)a) the US district court is

          ls   vested with judicial tribunal when there is state court misconduct                     and   allows removal

           Complaint. Case law Fresquez VS Fansworth cited above.




 Vl            Conclusion   :



           Plaintiff asserts that the US district court            has jurisdiction to grant       this removal under title

               28USC(1441Xa(b         ) and title 28USC(1331)(a) under art. lll under constitutional mandate
                                        ietie#$$s+ermovalaetie+is=proper=fo-ee+sef-1O143*55-pe4dingatstate::

                Court after final determination of litigations, thus adjudication be granted under

                Declaratory judgment.

                                  -   Respectfully submitted

                                      t"rrv   a##r
